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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: March 11, 2008


____________________________________________________________




                 UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION

 In re:                                  :
                                         :          Case Nos. 06-33124; 07-30312,
                                         :          07-30313, 07-30315, 07-30113,
 CLADDAGH DEVELOPMENT                    :          07-30114, 07-30115, 07-30117,
 GROUP, LLC, et. al.                     :          07-30118, 07-30119, 07-30120,
                                         :          07-30124, 07-30125, 07-30126,
                     Debtors             :          07-30127, 07-30128, 07-30129,
                                         :          07-30130, 07-30131, 07-30133,
                                         :          07-30134
                                         :           (Jointly Administered
                                         :            under case no 06-33124)
                                         :           Chapter 11 Proceeding
                                         :           (Judge Walter)


    ORDER: (A) AUTHORIZING THE SALE OF ASSETS PURSUANT TO 11
    U.S.C.§363(b), (f) AND (m); (B) AUTHORIZING THE ASSUMPTION AND
   ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES
     PURSUANT TO 11 U.S.C.§365 AND (C) CONTINUING HEARING ON
   OBJECTIONS TO ASSUMPTION AND ASSIGNMENT OR REJECTION OF
       CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
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        This matter is before the Court upon the motion (the “Sale Motion”) of

 Richard D. Nelson, Chapter 11 Trustee, for entry of an order (the “Sale Order’)

 pursuant to sections 105(a), 362, 363(b), (f), and (m), 364(c)(1), 365, 1107, 1108,

 and 1146 of title 11 of the United States Code (the “Bankruptcy Code”), and

 Rules 2002, 6004, 6006, 9007, and 9014 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”) granting the Trustee the authority to sell

 substantially all of the Debtors’ assets, free and clear of liens, claims, interests

 and encumbrances, and to assume and assign certain executory contracts and

 leases (the “Sale”) to the Stalking Horse Bidder; Notice of the Sale Motion having

 been served on all creditors and parties in interest, including all parties who have

 previously indicated an interest in purchasing the Debtors’ assets; and it

 appearing that proper and adequate notice of the Sale Motion has been given

 and that no other or further notice is required; and that objections to the Sale

 Motion were filed by the Official Committee of Unsecured Creditors (the

 Committee”) (Doc. No. 529), the United States Trustee (the “US Trustee”)(Doc.

 No. 532), Inland US Management, LLC (“Inland”)(Doc. No. 522), Capella I NL

 LLC (“Capella”)(Doc. No. 524), Westfield Franklin Park Mall, LLC (“Westfield”)

 (Doc. No. 526), Legacy Village Investors, LLC (“Legacy Village”)(Doc. No. 530

 and 534), Grange Mutual Casualty Company (“Grange”)(Doc. No. 535),

 Precedent Property Owner’s Association, Inc. (“Precedent”)(Doc. No. 523), JP

 Morgan Chase Bank NA (“JP Morgan”)(Doc. No. 525), Zurich American

 Insurance Company (Zurich”)(Doc. No. 528), and Gordon Food Service (“GFS”)

 (Doc. No. 540), and good and sufficient cause appearing therefor,
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       THE COURT HEREBY FINDS THAT:

       A.     Purchaser and Purchase Agreement

       1. The successful bidder for the Sale of the Debtors’ assets, set forth in

 the asset purchase agreement (the “Stalking Horse APA”) entered into by the

 Trustee and the Purchaser on December 12 ,2007 and in certain schedules

 attached or to be attached thereto (the “Purchased Assets”), is CDG Acquisition

 LLC (“Purchaser”).

       2. The Sale of the Purchased Assets to Purchaser was made subject to

 higher and better offers and certain other sale procedures (the “Sale

 Procedures”) approved by the Court in the Order Establishing Bid Procedures on

 Trustee’s Motion for (1) Approval of Purchaser’s Offer to Purchase Assets as

 Stalking Horse Bid, (2) Approval of Break-up Fee to Stalking-Horse Bidder (3)

 Scheduling Auction for Sale of Assets, (4) Approving Bidding Procedures for

 Auction Including Setting of Initial Overbid and Subsequent Bidding Increments,

 (5) Scheduling Hearing on Approval of Successful Bidder at the Auction, and (6)

 Setting Objection Deadline (the “Sale Procedures Order”)(Doc. No. 517).

       3. The Sale Procedures Order scheduled an auction (the “Auction”) for

 the sale of the Purchased Assets to the highest and best bidder for January 16,

 2008 at 10:00 a.m. and the hearing on approval of the sale of the Purchased

 Assets for January 16, 2008 at 2:00 p.m. (the “Sale Hearing”).

       B.     Jurisdiction, Final Order, Objections and Statutory Predicates

       4.     The Court has jurisdiction over this Motion pursuant to 28

 U.S.C.§1334. This proceeding is a core proceeding pursuant to 28
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 U.S.C.§157(b)(2)(A) and (N). Venue is proper in this District and in this Court

 pursuant to 28 U.S.C. §§1408 and 1409.

       5.     The statutory predicates for the relief sought herein are sections

 §§105(a), 362, 363(b), (f), and (m), 364(c)(1), 365, 1107, 1108, and 1146 of the

 Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014.

       6.      The proposed Sale constitutes a sale of property of the estates

 outside the ordinary course of business within the meaning of Section 363(b) of

 the Bankruptcy Code.

       7.     The objections of the Committee and the US Trustee are overruled.

       8.     The objection of JP Morgan shall be addressed and resolved

 pursuant to a separate agreed order to be submitted.

       9.     The objection of Precedent is deemed resolved as set forth herein.

       10.    The objections of Inland, Capella, Westfield, Legacy Village,

 Grange, GFS and Zurich (the “Pending Objections”) are reserved and continued

 to a hearing to be scheduled in the event they are not resolved by agreement.

       11.    This Order constitutes a final and appealable order within the

 meaning of 28 U.S.C. §158(a). The Court expressly finds that there is no just

 reason for delay in the implementation of this Order, and expressly directs entry

 of judgment as set for the herein and that the 10-day stay imposed by

 Bankruptcy Rule 6004(g) be deemed waived.

       C.     Notice of Sale of the Purchased Assets

       12.    The Trustee complied with all the procedures for notice of the Sale

 Motion, the Sale Procedures, the Auction, and Sale Hearing set forth in the Sale
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 Procedures Order. The Sale Notice approved in the Sale Procedures Order was

 served upon all parties in interest, including all parties asserting any lien or

 interest in any of the Purchased Assets or any of the Debtors’ leases and other

 executory contracts, all creditors listed on all Debtors’ mailing matrixes, all parties

 who filed a notice of appearance in this case, counsel for the Committee of

 Unsecured Creditors, the Office of the United States Trustee, and every party

 who either submitted a Confidentiality Agreement, a Letter of Intent, or otherwise

 indicated an interest in acquiring the Purchased Assets.

        13.     The Court finds that Notice of the Sale Motion, the Auction, and the

 Sale Hearing as described above, was proper, timely, adequate, sufficient,

 proper under the circumstances, in compliance with Rules 2002, 6004, 6006, and

 9014 of the Bankruptcy Rules, and no other or further notice is required.

        14.    A reasonable opportunity to object or be heard with respect to the

 Sale Motion and the relief requested therein, and the right of third parties to

 submit higher or otherwise better offers for all or any portion of the Purchased

 Assets in accordance with the Bidding Procedures approved by the Court, has

 been afforded to all interested persons and entities.

        D.     Good Faith of Purchaser

        15.    Purchaser’s sole member is Supermac’s Ireland Limited

 (“Supermac’s”) or Pat McDonagh (“Mr. McDonagh”). Supermac’s is a DIP

 financing lender to the Debtors and Supermac’s or Mr. McDonagh is the holder of

 a nonpriority unsecured claim against the Debtors in the amount of $26,612,695.
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 Mr. McDonagh and his wife are the 100% owners of Supermac’s. Mr. McDonagh

 is also the holder of 50% of the equity interests in the Debtors.

        16.    Purchaser and its respective representatives, attorneys, agents and

 advisors have at all times acted in good faith in all respects relating to the sale of

 the Purchased Assets pursuant to the Stalking Horse APA, which was negotiated

 and entered into by the parties in good faith and from arm’s length bargaining

 positions and Purchaser therefore qualifies as a good faith purchaser within the

 meaning of 11 U.S.C.§363(m), and is therefore entitled to the protection of that

 provision, and otherwise has proceeded in good faith in all respects in connection

 with the proceeding.

        17.    The Trustee aggressively marketed the Sale of the Purchased

 Assets. All parties who executed a Confidentiality Agreement or otherwise

 expressed any interest in acquiring the business and the Purchased Assets of

 the Debtors received notice of the Sale and had an opportunity to submit a

 competing bid. The Sale to Purchaser constitutes an arm’s length transaction,

 entitled to the protections of section 363(m) of the Bankruptcy Code.

        18.    Neither the Trustee, the Debtors nor any of their respective

 representatives, attorneys, agents and advisors, have colluded with the

 Purchaser, its representatives, attorneys, agents and advisors or in any manner

 whatsoever violated the provisions of Section 363(n) of the Bankruptcy Code.

        E.     Competing Offers

        19.    No competing offers for the Purchased Assets were received by the

 Trustee prior to the Sale Hearing.
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        F.     Approval of Motion

        20.    The terms of the Stalking Horse APA are fair and reasonable under

 the circumstances of these Chapter 11 Cases and these proceedings, and

 correspond to current market standards. The terms constitute the highest and

 best offer obtainable for the Purchased Assets and are fair and adequate. The

 Sale Procedures approved by the Court afforded a full, fair, and reasonable

 opportunity for any party to make a higher or otherwise better offer for the

 Purchased Assets.

        21.    The consideration for the Purchased Assets set forth in the Stalking

 Horse APA (i) is fair and reasonable, (ii) represents the highest and best offer for

 the Purchased Assets, and (iii) constitutes reasonably equivalent value and fair

 consideration under the Bankruptcy Code and applicable state and federal law.

        22.    The Trustee has full power and authority to execute and deliver the

 Stalking Horse APA and all other documents contemplated thereby and to

 otherwise transfer the Purchased Assets to Purchaser, free and clear of all liens,

 claims and encumbrances; and no further consents or approvals are required for

 the Trustee, on behalf of the Debtors, to consummate the transactions

 contemplated in the Stalking Horse APA.

        23.    The Motion should therefore be approved as it is in the best

 interests of the creditors, and the Debtors’ estates.

        G.     Section 363 Sale

        24.    The Sale of the Purchased Assets to Purchaser, pursuant to

 Sections 105(a), 363(b) and 363(f) of the Bankruptcy Code, is free and clear of
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 all liens, claims, encumbrances or interests held by any third party in any of the

 Purchased Assets with those interests to attach to the proceeds of the Sale in the

 same order and with the same priority as they currently hold. Neither the Sale

 nor this Order shall impair or extinguish the land covenants and obligations to

 which Precedent is entitled to enforce under applicable state law against the

 owner of the property subject to such covenants and obligations.

        25.    The Trustee has articulated sound business justification for the

 sale of the Purchased Assets to Purchaser free and clear of all claims, liens,

 encumbrances, liabilities, and interests pursuant to the Stalking Horse APA and it

 is a reasonable exercise of the Trustee’s business judgment to consummate the

 sale of the Purchased Assets to Purchaser and to execute, deliver, and perform

 his obligations under the Stalking Horse APA.

       26. The execution, delivery, and performance by the Trustee of the

 Stalking Horse APA in accordance with its terms is in the best interest of the

 Debtors, their creditors and other parties in interest.

        H.     Assumption and Assignment of Leases and Contracts

        27.    Certain landlords and parties to other executory contracts of the

 Debtors filed objections to the Sale Motion.

        28.    Purchaser has not yet exercised its rights under the Stalking Horse

 APA to designate the Debtors’ leases and other executory contracts for

 assumption and assignment or rejection. Purchaser continues to reserve that

 right and will designate such leases and executory contracts prior to closing of

 the Sale. In the event that the Pending Objections are not resolved consensually
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 or other parties to leases or executory contracts that Purchaser designates for

 assumption and assignment or rejection object to such assumption and

 assignment or rejection, then the Court will conduct a hearing to determine such

 objections. All Pending Objections are hereby reserved. In the event that the

 Pending Objections and any issues and claims relating to or arising from the

 Purchaser’s designation of leases and executory contracts for assumption and

 assignment or rejection are resolved consensually then the consensual

 resolution shall be presented to the court in a proposed order without any further

 hearing.

       29.    Any leases or contracts designated by Purchaser for rejection shall

 be deemed rejected effective upon written notice by the Trustee to other party to

 such lease or executory contract, which notice shall be given immediately upon

 designation by Purchaser unless otherwise directed by Purchaser.

       J.     Miscellaneous.

       30.    All findings of fact and conclusions of law announced by the Court

 at the Sale Hearing on January 16, 2008 in relation to the Sale Motion are hereby

 incorporated herein.

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

 DECREED THAT:

       A.     Consistent with the provisions of this Order, the Sale Motion is

 hereby GRANTED, the Stalking Horse APA is approved in its entirety, and the

 performance of the Stalking Horse APA by the Trustee, the Debtors and the

 Purchaser in accordance with its terms is hereby approved in all respects. The
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 Trustee is authorized and directed to implement and perform his obligations

 under the Stalking Horse APA and to take such other actions reasonably

 necessary to effectuate its terms, including the execution of deeds, bills of sales,

 assignments or any other documents required to effectuate the transfers.

        B.     All objections to the Motion or the relief requested therein that have

 not been (a) withdrawn, waived, or settled as announced to the Court at the

 hearing on the Motion, (b) reserved as detailed in Section H above, or (c)

 addressed or provided for in other orders of the Court, are hereby overruled on

 the merits including, without limitation, the objections of the Committee and the

 US Trustee.

        C.     Pursuant to Sections 105 and 363 of the Bankruptcy Code, except

 as otherwise provided in the Stalking Horse APA and this Order, the Purchased

 Assets shall be sold, conveyed, granted, assigned, transferred, and delivered by

 the Trustee to the Purchaser or any of its affiliates, subsidiaries or assignees

 designated by Purchaser to take title to and/or possession of any of the

 Purchased Assets under the Stalking Horse APA free and clear of any and all

 encumbrances, claims, liens, mortgages, security interests, restrictions, prior

 assignments, obligations, pledges, charges and liabilities against the Debtors or

 the Purchased Assets. Any such interests shall attach to the proceeds of the

 Sale contemplated by the Stalking Horse APA to the same extent and with the

 same validity and priority as such interests had with respect to the Purchased

 Assets. No entity shall interfere with or delay the transfer of the Purchased
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 Assets (including liquor permits) because of any unpaid claim against the

 Debtors.

        D.     Potential bidders had adequate notice of the bid deadlines, the

 proposed Auction, and the Sale Hearing and were given an adequate opportunity

 to make competing bids. All entities claiming liens claims, encumbrances or

 interests in or against the Purchased Assets had adequate notice of the Sale, the

 Auction and the Sale Hearing.

        E.     The Stalking Horse APA is hereby approved in all respects, and

 shall be deemed in full force and effect, binding and benefiting the Trustee, the

 Debtors, the Debtors’ Estates, and the Purchaser, subject only to the provisions

 of this Sale Order.

        F.     All entitles are hereby forever prohibited and enjoined from taking

 any action that would adversely affect or interfere with the ability of the Trustee or

 the Debtors to sell and transfer the Purchased Assets to the Purchaser in

 accordance with the terms of the Stalking Horse APA and this Order.

        G.     The purchase price to be paid pursuant to the Stalking Horse APA

 for the Purchased Assets is fair and reasonable, in accordance with current

 market standards, and constitutes reasonably equivalent value and fair

 consideration. Neither the Trustee, the Debtors nor any of their respective

 representatives, attorneys, agents and advisors, have colluded with the

 Purchaser, its representatives, attorneys, agents and advisors or in any manner

 whatsoever violated the provisions of Section 363(n) of the Bankruptcy Code and

 therefore the Sale and the transactions contemplated in the Stalking Horse APA
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 are not subject to challenge under Section 363(n) of the Bankruptcy Code. The

 Trustee is authorized to implement and consummate all of the transactions and

 perform the obligations contemplated by the Stalking Horse APA, including,

 without limitation, (i) the sale of the Purchased Assets to Purchaser and the

 assumption and assignment or the rejection of all leases and other executory

 contracts as designated by Purchaser which are either resolved consensually

 with the other parties to such leases and executory contracts or as may be

 determined by the Court at a hearing on any proposed assumption and

 assignment or rejection, for the Purchase Price set forth in the Stalking Horse

 APA, and (ii) the delivery of special warranty deeds, bills of sale, assignments,

 and all other necessary documentation to effectuate the Sale.

        H.     At closing, pursuant to the Stalking Horse APA, the Trustee shall

 deliver title to and possession of the Purchased Assets free and clear of liens

 pursuant to Section 363(f) of the Bankruptcy Code, with the exception of any

 Assumed Liabilities and Assumed Debt as set forth in the Stalking Horse APA.

        I.     Notwithstanding any contrary provisions of law, the Debtors’

 licenses, including those relating to liquor licenses in all jurisdictions required for

 Purchaser or any of its affiliates, subsidiaries or assignees to conduct business

 with the Purchased Assets after the Closing, shall be transferred to the

 Purchaser or to any of its affiliates, subsidiaries or assignees that it designates

 (collectively referred to herein as “Purchaser”), free and clear of all liens, claims

 and encumbrances of any public or private person or entity, and the Trustee shall

 cooperate with Purchaser and execute all other and further documents and take
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 such other actions as may be necessary or appropriate to consummate such

 transfers and ensure that such transfers are recognized by applicable

 governmental entities.

        J.     The Purchaser is not a mere continuation of the Debtors nor does

 the Purchaser constitute a successor to the Debtors. Purchaser is not expressly

 or impliedly agreeing to assume any of the Debtors’ liabilities, leases, or

 contracts, unless specifically enumerated in the Schedules to the Stalking Horse

 APA. The Purchase does not constitute a merger or de facto merger of the

 Debtors and the Purchaser. The transaction contemplated in the Stalking Horse

 APA are not entered into fraudulently or in order to escape liability from the

 Debtors’ debts.

        K.     Purchaser shall not be deemed to have assumed any liabilities of

 the Debtors except as specifically detailed in the Stalking Horse APA.

        L.     Purchaser shall not be liable for any claims against the Debtors or

 any of their predecessors or affiliates. Purchaser shall have no successor or

 vicarious liabilities of any kind resulting from the transaction contemplated by the

 Stalking Horse APA, or from any action of the Debtors or their agents.

        M.     This Order shall be binding in all respects upon the Trustee, the

 Debtors, their estates, all creditors thereof, and holders of equity interests,

 whether known or unknown, in any of the Debtors, all governmental units with

 claims against the Debtors, any holders of liens, claims, encumbrances or

 interests in or against the Purchased Assets, all non-Debtor parties to any leases

 or executory contracts assumed and assigned to Purchaser or rejected by the
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 Trustee, all successors and assigns of the Purchaser, each Debtor and their

 affiliates and subsidiaries, and any future or subsequent trustees in either

 Chapter 11 or 7 of the Bankruptcy Code.

        N.     All entities that are in possession of some or all of the Purchased

 Assets on the Closing Date are directed to surrender possession of such

 Purchased Assets to the Purchaser or its assignee at the Closing.

        O.     The Purchaser is a good faith purchaser within the meaning of

 section 363(m) of the Bankruptcy Code with respect to the negotiation of the

 Stalking Horse APA, the acquisition of the Purchased Assets, the assumption

 and assignment or rejection of leases and other executory contracts and all

 matters related to the foregoing and, as such, is entitled to the full protections of

 section 363(m) of the Bankruptcy Code.

        P.     Pursuant to Rules 7062, 9014, 6004(h), and 6006(d) of the Federal

 Rules of Bankruptcy Procedure, this Order shall be effective immediately upon

 entry and the Trustee is authorized to close the Sale immediately upon entry of

 the Sale Order.

        Q.     Pursuant to section 1146 of the Bankruptcy Code, the transfer of

 the Purchased Assets, and the execution and delivery of any instrument of

 transfer by the Debtors, shall not be taxed under any law imposing a transfer tax,

 a stamp tax, or a similar tax.

        R.     A certified copy of this Order may be filed with the appropriate Clerk

 and/or recorded with the Recorder to act to cancel any liens or claims of record.
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        S.      The automatic stay provisions of section 363 of the Bankruptcy

 Code are vacated and modified to the extent necessary to implement the terms

 and conditions of the Stalking Horse APA and the provisions of this Order.

        T.      This Order is and shall be binding upon all entities, including,

 without limitation, all filing agents, filing officers, title agents, title companies,

 recorders of mortgages, recorders of deeds, registrars of deeds, administrative

 agencies, governmental units and departments, secretaries of state, federal and

 local officials, and all other persons and entities who may be required by

 operation of law or their duties of their office, to accept, file, register, or otherwise

 record or release any documents or instruments, or who may be required to

 report or insure and title.

        U.      There are no brokers involved in consummating the Sale and no

 brokers’ commissions are due.

        V.      The failure to specifically include any particular provision of the

 Stalking Horse APA in this Order shall not diminish or impair the effectiveness of

 such provision, it being the intent of the Court that the Stalking Horse APA be

 authorized and approved in its entirety.

        W.      The Stalking Horse APA and any related agreements, documents

 or other instruments may be modified, amended, or supplemented by the parties

 thereto and in accordance with the terms thereof, without further order of the

 Court, provided that any such modification, amendment, or supplement does not

 have a material adverse effect on the Debtors’ estates.
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        X.     Pursuant to, and to the extent necessary under Bankruptcy Rules

 5003, 6004(h), 6006(d), 7062, 9014, 9021, and 9022, the Court hereby expressly

 finds and concludes that there is no just cause for delay in the implementation of

 this Sale Order. This Sale Order therefore shall not be stayed for ten (10) days

 after its entry. This Sale Order shall be effective and enforceable immediately

 upon entry, and any stay thereof, including without limitation pursuant to Rule

 6004(h) and Rule 6006(d), is hereby abrogated.

        Y.     After the Closing Date, the Chapter 11 Trustee shall retain the

 proceeds of the sale for future administration in this case.

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